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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
Deborah Donohgue,
and Aaron Rubenstein,                                                     No. 16-cv-5485

                       Plaintiffs,                                          (ECF Case)
                 v.

Jeremy Mindich, Matthew Sirovich,
Scopia Capital GP LLC,
Scopia Capital Management LP,
Scopia Management, Inc.,
Scopia Long LLC, Scopia LB LLC,
Scopia PX LLC, Scopia Partners LLC,
Scopia Long QP LLC,
Scopia Windmill Fund LP,
Scopia International Master Fund LP,
Scopia PX International Master Fund LP,
Scopia LB International Master Fund LP, and
Scopia Long International Master Fund LP,

                       Defendants,

                       and

Itron Inc.,
                       Nominal Defendant.

     NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

        Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiffs and

their counsel hereby gives notice that Plaintiffs voluntarily dismiss this case with prejudice.

Dated: New York, New York
       Sept. 1, 2016

s/ Miriam Tauber
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